      Appellate Case: 23-1135      Document: 108    Date Filed: 01/25/2024     Page: 1
                                                                                   FILED
                                                                       United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                       Tenth Circuit

                                FOR THE TENTH CIRCUIT                          January 25, 2024
                            _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 DARLENE GRIFFITH,

         Plaintiff - Appellant,

 v.                                                             No. 23-1135
                                                   (D.C. No. 1:21-CV-00387-CMA-NRN)
 EL PASO COUNTY, COLORADO, et al.,                               (D. Colo.)

         Defendants - Appellees.

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 DISABILITY RIGHTS EDUCATION
 AND DEFENSE FUND, et al.,

         Amici Curiae.
                            _________________________________

                                         ORDER
                            _________________________________

        This matter is before the court on the Unopposed Motion of the United States

to Participate in Oral Argument as Amicus Curiae in Support of Plaintiff-Appellant. At

the direction of the panel who will hear the oral argument, the motion is GRANTED. The

amicus curiae will be allowed to argue on March 19, 2024 with six minutes of time ceded

by Appellant. Counsel for the amicus curiae shall file a Calendar Acknowledgment Form

within 7 days of today’s date.


                                             Entered for the Court



                                             CHRISTOPHER M. WOLPERT, Clerk
